Case 2:96-cV-02520-.]PI\/| Document 832 Filed 06/07/05 F!age 1 of 3 Page|D 1064

 

IN THE UNITED sTATES DISTRICT CoURT ' ,
FOR THE wEsTERN DISTRICT oF TENNESSE§WDBL~-¢~~_*RQ

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DARIUS D. LITTLE,
Plaintiff,

V. NO. 96-2520 Ml/P

SHELBY COUNTY, TENNESSEE,
et al.,

Defendants.

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ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Wanda J.
Kilgore-Schneider, has submitted an invoices for fees and
expenses incurred in connection with this matter for the months
of October, November, and December, 2003, in the amounts of
$6,811.47; $6,011.93; and $6,973.72. Accordingly, the Clerk of
Court is directed to send the total amount of $19,797.12 to the
Assistant Special Master, Wanda J. Kilgore-Schneider at, 65

Sunhaven Drive, Jackson, Tennessee, 38305.

IT IS SO ORDERED THIS ; DAY OF Jul'le, 2005.

QMOM

JO P. MCCALLA
ITED S'I`ATES DISTRICT JUDGE

  
 

 

Thie document entered en the docket sheet ln compliance
with Rule 58 and/or ?9(a) FRCP on

 

   

UNIED STATESDISTRIC COURT - v\/ESTI<NE DITRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 832 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

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